Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 1 of 27 Pageid#: 3096




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division

  LORI FITZGERALD, et al.,           )     Case No. 3:20-cv-00044-GEC
                                     )
                    Plaintiffs,      )
                                     )
  vs.                                )
                                     )
  JOSEPH WILDCAT SR., et al.,        )
                                     )
                    Defendants.      )

    DEFENDANTS JOSEPH WILDCAT, SR., JOHN JOHNSON, GEORGE THOMPSON,
    JAMIE ANN ALLEN, JEFFREY BAUMAN, SR., WILLIAM STONE SR., LOUIS ST.
    GERMAINE, ERIC CHAPMAN, SR., RACQUEL BELL, GLORIA COBB, WILLIAM
   GRAVEEN, AND SARAH PYAWASIT, JESSI LORENZO, AND NICOLE REYNOLD’S
    BRIEF IN SUPPORT OF MOTION TO DISMISS FOR FAILURE TO STATE CLAIM




                                                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 2 of 27 Pageid#: 3097




                                                       Table of Contents

  I.     INTRODUCTION ...............................................................................................................1
  II.    PLAINTIFFS’ COMPLAINT..............................................................................................3
         A.        The Tribal Defendants .............................................................................................3
         B.        The Plaintiffs ............................................................................................................4
  III.   STANDARDS OF REVIEW ...............................................................................................9
         A.        Federal Rule of Civil Procedure 12(b)(6) ................................................................9
  IV.    ARGUMENT .......................................................................................................................9
         A.        Plaintiffs’ Federal Rico Claims Must be Dismissed ................................................9
                   1.         Plaintiffs’ 1962(c) claims must be dismissed (COUNT ONE) ....................9
                   2.         Plaintiffs’ 1962(d) claims must be dismissed (COUNT II) .......................15
         B.        Plaintiffs’ State Law Claims Must be Dismissed (COUNTS III AND IV) ...........17
         C.        Plaintiffs’ Unjust Enrichment Claim is Not Asserted Against Tribal
                   Defendants. ............................................................................................................20
  V.     CONCLUSION ..................................................................................................................20




                                                                    ii                                                         OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 3 of 27 Pageid#: 3098




                                                 TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

  Cases

  Adolphe v. Option One Mortg. Corp.,
     No. 3:11-cv-418, 2012 WL 5873308 (W.D.N.C. Nov. 20, 2012) ...........................................10

  Alexandria Resident Council, Inc. v. Alexandria Redevelopment & Hous. Auth.,
     11 F. App'x 283 (4th Cir. 2001) ...............................................................................................13

  Artis v. TMobile USA, Inc.,
      No. PJM 18-2575, 2019 WL 1427738 (D. Md. Mar. 29, 2019) ..............................................14

  Ashcroft v. Iqbal,
     556 U.S. 662 (2009) ...................................................................................................................5

  Balt.-Wash. Tel. Co. v. Hot Leads Co., LLC,
     584 F. Supp. 2d 736 (D. Md. 2008) .........................................................................................11

  In re Brian W. Coughlin,
      No. 19-14142, 2020 WL 6140388 (Bankr. D. Mass. Oct. 19, 2020).........................................1

  Eseni v. RIMSI Corp.,
     No. AW-07-2384, 2007 WL 9782599 (D. Md. Dec. 6, 2007).................................................14

  Grant v. Shapiro & Burson, LLP,
     871 F. Supp. 2d 462 (D. Md. 2012) .........................................................................................10

  Harris v. Florida,
     No. 8:16-cv-12-T-27MAP, 2016 WL 656977 (M.D. Fla. Jan. 12, 2016)................................15

  Hauk v. LVNV Funding, LLC,
     749 F. Supp. 2d 358 (D. Md. 2010) .........................................................................................14

  Hill v. Stryker Sales Corp.,
      No. 4:13-CV-0786-BHH, 2014 WL 4198906 (D.S.C. Aug. 20, 2014) .....................................6

  Hirsch v. Lyndon S. Ins. Co.,
     No. 3:17-CV-1215-J-39JBT, 2019 WL 5110622 (M.D. Fla. June 7, 2019),.............................7

  Jackson v.Warning,
     No. CV PJM 15-1233, 2016 WL 7228866 (D. Md. Dec. 13, 2016) ..........................................7

  Kiessling v. State Farm Mut. Auto. Ins. Co.,
     No. CV 18-4281, 2019 WL 634639 (E.D. Pa. Feb. 14, 2019)...................................................5




                                                                      iii                                                     OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 4 of 27 Pageid#: 3099




  McCrea v. Wells Fargo,
    No. CV RDB-18-2490, 2019 WL 2513770 (D. Md. June 17, 2019).........................................6

  Michigan Corrections Org. v. Michigan Dep't of Corrections,
     774 F.3d 895 (6th Cir. 2014) ...................................................................................................15

  Mitchell Tracey v. First Am. Title Ins. Co.,
     935 F. Supp. 2d 826 (D. Md. 2013) .....................................................................................2, 10

  Myers v. Lee,
     No. 1:10CV131 ..................................................................................................................10, 11

  Nunes v. Fusion GPS,
     531 F. Supp. 3d 993 (E.D. Va. 2021) ......................................................................................10

  Ormet Corp. v. Ohio Power Co.,
     98 F.3d 799 (4th Cir. 1996) .....................................................................................................14

  Reves v. Ernst & Young,
     507 U.S. 170 (1993) ...................................................................................................................8

  Rojas v. Delta Airlines, Inc.,
     425 F. Supp. 3d 524 (D. Md. 2019) .........................................................................................12

  Solomon v. Am. Web Loan,
     No. 4:17CV145, 2019 WL 1320790 (E.D. Va. Mar. 22, 2019) ..............................................12

  Spiteri v. Russo,
      No. 12-cv-2780, 2013 WL 4806960 (E.D.N.Y. Sept. 7, 2013) ...............................................15

  Springsteen v. Combs,
     No. A-13-CV-427, 2013 WL 5305312 (W.D. Tex. Sept. 19, 2013) .......................................15

  United States v. Mouzone,
     687 F.3d 207 (4th Cir. 2012) ...................................................................................................12

  Walters v. McMahen,
     795 F. Supp. 2d 350 (D. Md. 2011) .........................................................................................11

  Worcester v. Georgia,
    31 U.S. (6 Pet.) 515 (1832) ........................................................................................................1

  Young v. Ditech Fin., LLC,
     No. PX 16-3986, 2017 WL 3066198 (D. Md. July 19, 2017) .................................................14

  Statutes

  18 U.S.C. § 1962 ..............................................................................................................................5



                                                                        iv                                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 5 of 27 Pageid#: 3100




  28 U.S.C. § 1404(a) .........................................................................................................................3

  28 U.S.C. § 2201 ............................................................................................................................14

  25 U.S.C. § 4301 ..............................................................................................................................1




                                                                         v                                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 6 of 27 Pageid#: 3101




  I.      INTRODUCTION

          The Lac du Flambeau Band of Lake Superior Chippewa Indians (the “Tribe”) is a federally

  recognized Indian tribe. The Tribe is located in north central Wisconsin. The Tribal Council enacts

  and administers the Tribe’s laws.1

          Similar to other tribes, and in accordance with federal policy, the Tribe aims for a self-

  sustaining economy so that it need not rely on the federal government. See Native American

  Business Development, Trade Promotion, and Tourism Act of 2000, 25 U.S.C. § 4301. The Tribe,

  like many others, has turned to e-commerce and the online financial services industry for revenue.

  See Lac du Flambeau Band of Lake Superior Indians Tribal Code Ch. 94 “Tribal Consumer

  Financial Service Regulatory Ordinance” (“Ch. 94”).2

          The Tribe is a sovereign government. In re Brian W. Coughlin, No. 19-14142, 2020 WL

  6140388 (Bankr. D. Mass. Oct. 19, 2020); see Worcester v. Georgia, 31 U.S. (6 Pet.) 515 (1832).

  As elected officials of a sovereign, the Tribal Council passed comprehensive protections to

  consumers who choose to access services within the Tribe’s jurisdiction. See generally Ch. 94.

  Chapter 94 incorporates the substantive standards of numerous federal consumer protection

  statutes, including the “Dodd-Frank Wall Street Reform and Consumer Protection Act,” the “Truth

  in Lending Act,” the “Equal Credit Opportunity Act,” the Fair Credit Reporting Act,” and the “Fair

  Debt Collection Practices Act,” among other federal laws. See Ch. 94 § 7.2.

          Similar to some states, however, the Tribe opted not to include a usury limit in its laws. As

  a result, non-deceptive unsecured loans at high interest rates—priced to reflect the credit risk

          1
             The Constitution and Bylaws of the Lac du Lambeau Band of Lake Superior Chippewa Indians of Wisconsin
  is attached as Exhibit 2 to the Second Amended Complaint. See Doc. 135-2. They are also publicly available at
  https://www.ldftribe.com/uploads/files/Court-Ordinances/BYLAWS.pdf (last visited on 2/9/2023)
           2
             The Tribal Consumer Financial Service Regulatory Ordinance is publicly available at:
  https://www.ldftribe.com/uploads/files/Court-Ordinances/CHAP94-Tribal-Consumer-Financial-Services-Reulatory-
  Ordinance.pdf (last visited on 2/9/2023).



                                                         1                                            OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 7 of 27 Pageid#: 3102




  presented by the customers—are generally legal under the Tribe’s laws, as they are in several

  states.

            No doubt this is a hotly debated policy issue. Proponents of usury limits believe high-

  interest loans are predatory; opponents of usury limits believe high-credit-risk individuals deserve

  access to emergency capital. Either way, the federal government has not spoken on the issue, so

  the question is resolved on a state-by-state, sovereign-by-sovereign basis.

            To offer online consumer loans, the Tribe created tribally owned businesses under Chapter

  44a of the Tribal Code.3 These businesses operate under the Tribe’s sovereign immunity, except

  as waived in writing. Ch. 44a §103(2).

            Plaintiffs are five individuals who took out loans through tribally owned businesses, which

  are afforded sovereign immunity just like the Tribe. The loan documents waived the businesses’

  immunity only to the extent that Plaintiffs brought claims under Tribal or federal law in arbitration.

  But Plaintiffs chose federal court instead of arbitration, and they prefer their state’s laws to tribal

  or federal law. So instead of asserting claims against the tribally owned businesses that actually

  lent the money, Plaintiffs sued a host of individuals who did not lend Plaintiffs money, namely

  Joseph Wildcat, Sr., John Johnson, George Thompson, Jamie Ann Allen, Jeffrey Bauman, Sr.,

  William Stone Sr., Louis St. Germaine, Eric Chapman, Sr., Racquel Bell, Gloria Cobb, William

  Graveen, and Sarah Pyawasit (collectively “Tribal Council Defendants”), Jessi Lorenzo, and

  Nicole Reynolds (the “Tribal Council Defendants,” Ms. Lorenzo, and Ms. Reynolds are

  collectively the “Tribal Defendants”). This was done as an end-run around the tribally owned




            3
                  The      LDF   Tribally   Owned      Business  Ordinance    is   publicly   available    at:
  https://www.ldftribe.com/uploads/files/Court-Ordinances/CHAP44a-Tribally-Owned-Business-Organization-Code-
  1-.pdf (last visited 2/9/2023)



                                                       2                                          OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 8 of 27 Pageid#: 3103




  businesses’ sovereign immunity. These legal gymnastics result in deficient pleading and the

  assertion of claims upon which relief may not be granted.

          First, Plaintiffs – with respect to their claims against the Tribal Defendants - fail to plead

  that specific defendants committed specific misconduct. Instead, Plaintiffs lodge a shotgun

  pleading, alleging one of over ten defendants committed the exact same misconduct in conclusory

  fashion. Plaintiffs likewise fail to plead a RICO enterprise or that the enterprise is distinct from

  the defendants. As result, Plaintiffs’ Count One (RICO under 1962(c)) should be dismissed.

          Second, Plaintiffs’ RICO conspiracy claim fails because it is barred by the intracorporate

  conspiracy doctrine and because Plaintiffs fail to plead an agreement amongst defendants. Thus,

  Plaintiffs’ Count Two (RICO under 1962(d)) should be dismissed.

          Third, without a federal cause of action, this Court cannot exercise pendent jurisdiction

  over the statutory state law claims. Even if it could, Plaintiffs admit that the Tribal Defendants are

  not lenders, and no state licensing law provides a private right of action. So, the claims would fail

  even if the Court could address them. And Plaintiffs cannot use the Declaratory Judgment Act as

  a basis for relief without underlying state or federal claims. Plaintiffs’ Counts Three and Four

  should therefore be dismissed.

          Fourth, Plaintiffs do not lodge the unjust enrichment claim (Count Five) against the Tribal

  Defendants.

          For these reasons, Plaintiffs’ Amended4 Complaint should be dismissed.

  II.     PLAINTIFFS’ COMPLAINT

          A.       The Tribal Defendants


          4
              Plaintiffs’ Amended Complaint added (and the Second Amended Complaints retains) many new
  defendants, none of whom reside in Virginia. If defendants ultimately file answers, at which point the relevant and
  material witnesses will become clear, Plaintiffs may move to transfer venue for convenience purposes under 28 U.S.C.
  § 1404(a).



                                                           3                                             OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 9 of 27 Pageid#: 3104




                 1.      Tribal Employees

          Ms. Reynolds. Plaintiffs allege that Ms. Reynolds is a resident of Wisconsin and that “she

  is or has previously served as the Board President of the LDF Business Development Corp.” Doc.

  135 ¶ 30.

          Ms. Lorenzo. Plaintiffs allege that Ms. Lorenzo “is a resident of Florida and holds herself

  out as both the President of LDF Holdings and the Vice President of Lending at LDF Holdings.”

  Id. ¶ 31.

                 2.      Tribal Council Defendants

          Plaintiffs allege in the Complaint that the LDF Tribal Council is the “governing body” of

  the Tribe and in that role has the power and duties to manage “all economic affairs of the Tribe

  including its lending activities” and has the power to pass “legislation, statutes, codes and

  ordinances including those related to lending activities.” Doc. 135 ¶ 129-130. Plaintiffs allege the

  Tribal Council Defendants, while serving as the governing body of the Tribe, conspired to pass

  ordinances and establish lending operations which charged and collected unlawful interest on loans

  to the Plaintiffs. Id. ¶ 149-153. Specifically, Plaintiffs allege the following against each Tribal

  Council Defendant:

          Mr. Wildcat. Plaintiffs allege he is a resident of Wisconsin and “currently a general council

  member and previously served as President of the Band between 2016 and 2020. Both as the

  President and a general member of the Tribal Council, Defendant Wildcat’s role and duties include

  “oversight and management of ‘all economic affairs and enterprises of the Tribe,’ including its

  lending activities.” Id. ¶ 18. Plaintiffs allege that Mr. Wildcat and the other LDF Tribal Council

  members met “at least twice a month to review and implement high-level management decisions

  related to LDF Lending Entities.” Id. ¶ 132.




                                                   4                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 10 of 27 Pageid#: 3105




            Mr. Johnson. Plaintiffs allege he is a resident of Wisconsin and “is the President of the

   Band’s Tribal Council.” Plaintiffs allege that both as the President and a general member of the

   LDF Tribal Council, Defendant Johnson’s role and duties include “oversight and management of

   ‘all economic affairs and enterprises of the Tribe,’ including its lending activities.” Id. ¶ 19.

   Plaintiffs allege that Mr. Johnson and the other LDF Tribal Council members met “at least twice

   a month to review and implement high-level management decisions related to LDF Lending

   Entities.” Id. ¶ 132.

            Mr. Thompson. Plaintiffs allege he is a resident of Wisconsin and “is the Vice President

   of the Band’s Tribal Council.” Plaintiffs allege that as the Vice President of the LDF Tribal

   Council, Defendant Thompson’s role and duties include “oversight and management of ‘all

   economic affairs and enterprises of the Tribe,’ including its lending activities.” Id. ¶ 20. Plaintiffs

   allege that Mr. Thompson and the other LDF Tribal Council members met “at least twice a month

   to review and implement high-level management decisions related to LDF Lending Entities.” Doc.

   Id. ¶ 132.

            Ms. Allen. Plaintiffs allege Ms. Allen is a resident of Wisconsin and “is the Secretary of

   the Band’s Tribal Council.” Plaintiffs allege that in her capacity as the Secretary of the LDF Tribal

   Council, Defendant Allen’s role and duties include “oversight and management of ‘all economic

   affairs and enterprises of the Tribe,’ including its lending activities.” Id. ¶ 21. Plaintiffs further

   allege that Defendant Allen and the other LDF Tribal Council members met “at least twice a month

   to review and implement high-level management decisions related to LDF Lending Entities.” Id.

   ¶ 132.




                                                     5                                         OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 11 of 27 Pageid#: 3106




            Mr. Stone. Plaintiffs allege he is a resident of Wisconsin and “is the Treasurer of the Band’s

   Tribal Council.” Plaintiffs allege that as the Treasurer of the LDF Tribal Council, Defendant

   Stone’s role and duties include “oversight and management of ‘all economic affairs and enterprises

   of the Tribe,’ including its lending activities.” Id. ¶ 22. Plaintiffs allege that Mr. Stone and the

   other LDF Tribal Council members met “at least twice a month to review and implement high-

   level management decisions related to LDF Lending Entities.” Id. ¶ 132.

            Mr. Bauman. Plaintiffs allege he is a resident of Wisconsin and “is a member of the Band’s

   Tribal Council.” Plaintiffs allege that as a member of the LDF Tribal Council, Defendant

   Bauman’s role and duties include “oversight and management of ‘all economic affairs and

   enterprises of the Tribe,’ including its lending activities.” Id. ¶ 23. Plaintiffs allege that Mr.

   Bauman and the other LDF Tribal Council members met “at least twice a month to review and

   implement high-level management decisions related to LDF Lending Entities.” Id. ¶ 132.

            Mr. St. Germaine. Plaintiffs allege he is a resident of Wisconsin and “is a member of the

   Band’s Tribal Council.” Plaintiffs allege that as a member of the LDF Tribal Council, Defendant

   St. Germaine’s role and duties include “oversight and management of ‘all economic affairs and

   enterprises of the Tribe,’ including its lending activities.” Id. ¶ 24. Plaintiffs also allege that

   Defendant St. Germaine and the other LDF Tribal Council members met “at least twice a month

   to review and implement high-level management decisions related to LDF Lending Entities.” Id.

   ¶ 132.

            Mr. Chapman. Plaintiffs allege he is a resident of Wisconsin and “is a member of the

   Band’s Tribal Council.” Plaintiffs allege that as a member of the LDF Tribal Council, Defendant

   Chapman’s role and duties include “oversight and management of ‘all economic affairs and

   enterprises of the Tribe,’ including its lending activities.” Id. ¶ 24. Plaintiffs further allege that




                                                      6                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 12 of 27 Pageid#: 3107




   Defendant Chapman and the other LDF Tribal Council members met “at least twice a month to

   review and implement high-level management decisions related to LDF Lending Entities.” Id. ¶

   132.

          Ms. Bell. Plaintiffs allege she is a resident of Wisconsin and “is a member of the Band’s

   Tribal Council.” Plaintiffs allege that as a member of the LDF Tribal Council, Defendant Bell’s

   role and duties include “oversight and management of ‘all economic affairs and enterprises of the

   Tribe,’ including its lending activities.” Id. ¶ 28. Plaintiffs allege that Ms. Bell and the other LDF

   Tribal Council members met “at least twice a month to review and implement high-level

   management decisions related to LDF Lending Entities.” Id. ¶ 132.

          Ms. Cobb. Plaintiffs allege she is a resident of Wisconsin and “is a member of the Band’s

   Tribal Council.” Plaintiffs allege that as a member of the LDF Tribal Council, Defendant Cobb’s

   role and duties include “oversight and management of ‘all economic affairs and enterprises of the

   Tribe,’ including its lending activities.” Id. ¶ 27. Plaintiffs allege that Ms. Cobb and the other LDF

   Tribal Council members met “at least twice a month to review and implement high-level

   management decisions related to LDF Lending Entities.” Id. ¶ 132.

          Mr. Graveen. Plaintiffs allege he is a resident of Wisconsin and “is a member of the Band’s

   Tribal Council.” Plaintiffs allege that as a member of the LDF Tribal Council, Defendant

   Graveen’s role and duties include “oversight and management of ‘all economic affairs and

   enterprises of the Tribe,’ including its lending activities.” Id. ¶ 28. Plaintiffs further allege that

   Defendant Graveen and the other LDF Tribal Council members met “at least twice a month to

   review and implement high-level management decisions related to LDF Lending Entities.” Id. ¶

   132.




                                                     7                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 13 of 27 Pageid#: 3108




          Ms. Pyawasit. Plaintiffs allege Ms. Pyawasit is a resident of Wisconsin and “is a member

   of the Band’s Tribal Council.” Plaintiffs allege that as a member of the LDF Tribal Council,

   Defendant Pyawasit’s role and duties include “oversight and management of ‘all economic affairs

   and enterprises of the Tribe,’ including its lending activities.” Id. ¶ 26. Plaintiffs allege that

   Defendant Pyawasit and the other LDF Tribal Council members met “at least twice a month to

   review and implement high-level management decisions related to LDF Lending Entities.” Id. ¶

   132.

          B.      The Plaintiffs

          Aaron Fitzgerald. Mr. Fitzgerald applied for and received a loan from non-party

   Ishwaaswi, LLC d/b/a Radiant Cash. Doc. 135 ¶ 154. He applied for the loan using his Virginia

   address. Id. ¶ 166.

          Lori Fitzgerald. Ms. Fitzgerald applied for and received a loan from non-party

   Niizhwaaswi LLC, d/b/a Loan at Last. Id. ¶ 167. She applied for the loan using her Virginia

   address. Id. ¶ 170.

          Kevin Williams. Mr. William applied for and received loans from non-party Niizhwaaswi

   LLC, d/b/a Loan at Last, non-party Niswi, LLC d/b/a Amplify Funding, and non-party Makwa,

   LLC d/b/a Makwa Finance. Id. ¶¶ 172-174. Mr. Williams applied for the loans using his Georgia

   address. Id. ¶ 180.

          Jade Singleton. Ms. Singleton applied for and received loans from non-party Niswi, LLC

   d/b/a Lendumo. Id. ¶ 180. She applied for the loan using her Maryland address. Id. ¶ 188.

          Angela Maville. Ms. Maville applied for and received a loan from Ningodwaaswi, LLC

   d/b/a Sky Trail Cash. Doc. Id. ¶ 189. Ms. Maville applied for the loan using her Florida address.

   Id. ¶ 195.




                                                   8                                      OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 14 of 27 Pageid#: 3109




   III.      STANDARDS OF REVIEW

             A.      Federal Rule of Civil Procedure 12(b)(6)

             “The motion to dismiss standard under Federal Rule of Civil Procedure 12(b)(6) is set forth

   in Ashcroft v. Iqbal, 556 U.S. 662 (2009).” Kiessling v. State Farm Mut. Auto. Ins. Co., No. CV

   18-4281, 2019 WL 634639, at *2 (E.D. Pa. Feb. 14, 2019). After Iqbal, “threadbare recitals of the

   elements of a cause of action, supported by mere conclusory statements, do not suffice to defeat a

   Rule 12(b)(6) motion to dismiss.” Id. (internal quotations omitted). To survive a motion to

   dismiss, the complaint must contain sufficient factual matter, accepted as true, to state a claim for

   relief that is “plausible on its face.” Id. (quoting cases). “Facial plausibility is ‘more than a sheer

   possibility that a defendant has acted unlawfully.’” Id. To have facial plausibility, the plaintiff

   must plead “factual content that allows the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged.” Id.

   IV.       ARGUMENT

          A. Plaintiffs’ Federal RICO Claims Must be Dismissed

             Plaintiffs’ Counts One and Two assert RICO claims under 18 U.S.C. § 1962. Count One

   asserts claims under subsection (c) and Count Two asserts claims under subsection (d). The

   subsection (c) claims fail, because Plaintiffs assert conclusory wrongdoing in shotgun fashion, and

   none of the specific allegations establish wrongdoing by any Tribal Defendant. Moreover,

   Plaintiffs fail to plead adequately an enterprise or that the enterprise is distinct. The subsection (d)

   claims fail because the intracorporate conspiracy bars the claims and, in addition, Plaintiffs fail to

   plead a conspiratorial agreement. For these reasons, the federal RICO claims must be dismissed.

                  1. Plaintiffs’ 1962(c) claims must be dismissed (COUNT ONE)

                        a. Plaintiffs’ shotgun pleading fails to attribute misconduct to any
                        defendant on an individual basis.




                                                      9                                         OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 15 of 27 Pageid#: 3110




          The majority of the Second Amended Complaint is not aimed at the Tribal Defendants.

   The Second Amended Complaint is 270 paragraphs. Hardly any of it even claims to describe the

   conduct—let alone misconduct—of any Tribal Defendant in a factual manner:

                 Conclusory introduction of the claims and relief sought. Doc. 135 ¶¶ 1-10.

                 Recitation of jurisdiction and venue. Id. ¶¶ 11-12.

                 Recitation of the parties. Id. ¶¶ 13-33.

                 Recitations of state usury laws. Id. ¶¶ 34-62.

                 Recitation of other tribes’ alleged lending structures. Id. ¶¶ 63-99.

                 Recitation of conduct undertaken by non-tribal defendants and a non-party entity.

                  Id. ¶¶ 100-119.

                 Recitation of RICO case law. Id. ¶¶ 120-125.

                 Recitation of creation of lending entities. Id. ¶¶ 126-137.

                 Recitation of the job history of one defendant. Id. ¶¶ 138-143.

                 Recitation of the non-party entities that allegedly made the loans. Id. ¶¶ 144-195.

                 Threadbare recitations of causes of action Id. ¶¶ 196-270.

          The allegations of misconduct are pleaded in a shotgun manner. Sandwiched within

   those largely irrelevant allegations are a few threadbare allegations that the Tribal Defendants

   committed misconduct. “A Shotgun pleading is ‘[a] complaint that fails to articulate claims with

   sufficient clarity to allow the defendant to frame a responsive pleading.’” Hill v. Stryker Sales

   Corp., No. 4:13-CV-0786-BHH, 2014 WL 4198906, at *2 (D.S.C. Aug. 20, 2014). A complaint

   constitutes an impermissible shotgun pleading where it is unclear which defendants are allegedly

   responsible for which alleged misconduct. McCrea v. Wells Fargo, No. CV RDB-18-2490, 2019

   WL 2513770, at *7 (D. Md. June 17, 2019), motion for relief from judgment denied, No. CV RDB-



                                                    10                                      OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 16 of 27 Pageid#: 3111




   18-2490, 2019 WL 4962022 (D. Md. Oct. 8, 2019). Also, vague allegations that the alleged

   violation was made by “Defendants” is not sufficient and constitutes a shotgun pleading. Hirsch

   v. Lyndon S. Ins. Co., No. 3:17-CV-1215-J-39JBT, 2019 WL 5110622, at *4 (M.D. Fla. June 7,

   2019), report and recommendation adopted sub nom. Hirsch v. Ensurety Ventures, LLC, No. 3:17-

   CV-1215-J- 39JBT, 2019 WL 8370863 (M.D. Fla. Aug. 6, 2019), aff’d, 805 F. App’x 987 (11th

   Cir. 2020) (citing cases).

             According to the Plaintiffs, “Defendants . . . marketed, initiated, and collected usurious

   loans through the country[.]” Doc. 135 ¶ 149 (emphasis added). And “Defendants knew the loans

   were illegal[.]” Id. ¶ 150 (emphasis added). And an unidentified “[t]hey” charged “astronomical

   interest rates that far exceed rates allowed by applicable state laws.” Id. ¶ 151 (emphasis added).

   And it is unlawful for “Defendants, LDF Holdings [a non-party], or any of their affiliates to collect

   or receive any principal, interest or charges whatsoever on said loans[.]” Id. ¶ 153 (emphasis

   added).

             While Plaintiffs allege in conclusory fashion that each defendant is liable for their own

   misconduct, Plaintiffs fail to allege how each defendant participated in such misconduct. Instead,

   allegedly over ten “Defendants” committed every facet of every aspect of the alleged

   misconduct—but which defendant, when, how, for what purpose, with what level of scienter (and

   the like) is left to the reader’s imagination. Thus, the Complaint simply does not “plead[] factual

   content that allows the [C]ourt to draw the reasonable inference that the defendant is liable for the

   misconduct alleged.” Jackson v. Warning, No. CV PJM 15-1233, 2016 WL 7228866, at *4 (D.

   Md. Dec. 13, 2016) (quoting Iqbal, 556 U.S. at 663).

             The allegations related to authority are copied and pasted. In the section reciting the

   parties (Doc. 135 ¶¶ 13-33), Plaintiffs copied and pasted their allegations related to each member




                                                    11                                       OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 17 of 27 Pageid#: 3112




   of the Tribal Council’s authority. To read the allegations against Joseph Wildcat Sr., for example,

   is to read the allegations against them all. According to Plaintiffs, each member of the Tribal

   Council’s duties includes (or included) “oversight and management of ‘all economic affairs and

   enterprises of the Tribe,’ including its lending activities.” Id. ¶ 18 (quoting the Tribe’s Bylaws).

   And each member allegedly “meets [or met] twice a month with other members” to “implement

   high-level management of the LDF Lending Entities,” including creating “the entities” and

   approving the “servicing agreements.” Id. ¶ 18.

          That the members of the Tribal Council “manage” all “economic affairs” is merely a

   threadbare reference to the “operate or management” test under RICO case law,5 appended to a

   recitation of the Tribe’s Bylaws. See Doc. 135 ¶ 16 (citing Art. VI(f) of the Tribe’s Bylaws).

   Threadbare references to laws that set forth each members’ official duties are not “factual content”

   that allow the Court to draw reasonable inferences that any individual actually engaged—in his or

   her personal capacity no less—in a violation of the RICO statute.

          No defendant made any of the alleged illegal loans. The crux of Plaintiffs’ claims is that

   usurious loans were made. But made by whom? Not the Tribal Defendants. Indeed, Plaintiffs

   readily admit that the loans were allegedly made by non-party entities. Compare Doc. 135 ¶¶ 144-

   195 (setting forth the non-defendants that made the loans) with id. ¶¶ 13-33 (setting forth the

   parties). This fact alone explains why Plaintiffs’ factual allegations against the Tribal Defendants

   are so deficient: Plaintiffs are suing the wrong parties, and try as they might, they cannot state a

   claim against Tribal Defendants.




          5
            Reves v. Ernst & Young, 507 U.S. 170, 179 (1993) (“The ‘operation or management’ test
   express this requirement . . . .”).


                                                     12                                     OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 18 of 27 Pageid#: 3113




          Individually and collectively, Plaintiffs do not state a cause of action against each Tribal

   Defendant because: (1) the majority of the Second Amended Complaint does not describe their

   conduct, (2) the portion of the complaint related to misconduct is pleaded in shotgun fashion, (3)

   the portion of the complaint related to authority is simply a copy-and-paste job of the Tribe’s

   Bylaws and RICO case law, and (4) the thrust of Plaintiffs’ claims is that entities who are not

   named in this action allegedly made illegal loans. Against that backdrop, Plaintiffs try to hide their

   lack of claims against the Tribal Defendants through the complexity of a statutory RICO claim.

                      b. Plaintiffs fail to plead an enterprise.

          Plaintiffs fail to plead sufficient facts to establish a RICO enterprise, and they attempt to

   cover up this failure through use of a clever pleading tactic.

          Section E of the Second Amended Complaint purports to set forth the “RICO

   Enterprise(s).” See Doc. 135 ¶¶ 120-148. In the beginning of that section, in paragraphs 120

   through 125, Plaintiffs set forth general case law related to RICO enterprises. And then Plaintiffs

   use a clever pleading tactic: In paragraph 126, Plaintiffs allege “As detailed above, Defendants

   created an array of different companies for the purpose of making usurious loans . . . .” Id. ¶ 126

   (emphasis added). But “detailed above” were other alleged tribal lending “schemes”—not those

   allegedly undertaken by Tribal Defendants. See id. ¶¶ 63-99.

          Plaintiffs simply do not allege any facts that would allow the Court to plausibly infer the

   alleged participants in this purported enterprise—as opposed to other alleged tribal lending

   programs—engaged in the allegedly common purpose, or to identify the exact roles and

   responsibilities of the alleged participants (save for copying and pasting the Tribe’s Bylaws).

   Without more, such “‘vague allegations of a RICO enterprise . . . lacking any distinct existence

   and structure’ will not survive dismissal.” Nunes v. Fusion GPS, 531 F. Supp. 3d 993, 1007 (E.D.

   Va. 2021) (holding that Plaintiff’s “rote allegations that Defendants ‘operated’ and ‘conducted the


                                                    13                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 19 of 27 Pageid#: 3114




   business of the enterprise’ . . . unsupported by any specific fact[,]” and “mere conclusory language

   that Defendants and supposed enterprise participants operated as a RICO enterprise” fail to satisfy

   the requirements of Rule 12(b)(6) to plead an enterprise under RICO); Mitchell Tracey v. First

   Am. Title Ins. Co., 935 F. Supp. 2d 826, 843 (D. Md. 2013) (citation omitted); see also Grant v.

   Shapiro & Burson, LLP, 871 F. Supp. 2d 462, 473 (D. Md. 2012) (dismissing RICO claim that

   “contain[ed] no factual averments regarding the relationships between or among Defendants, much

   less how they functioned as a continuing unit”); Adolphe v. Option One Mortg. Corp., No. 3:11-

   cv-418, 2012 WL 5873308, at *5 (W.D.N.C. Nov. 20, 2012) (dismissing RICO claim where

   “Plaintiff failed to aver any factual allegations that demonstrate the individual roles played by each

   Defendant, much less how those roles combined to form a continuing unit, or ‘enterprise’”).

                      c. Plaintiffs fail to plead distinctness.

          Looking past Plaintiffs’ deficient allegations of an enterprise, Plaintiffs in conclusory

   fashion fail to plead a “RICO enterprise that operates or functions in a way distinct from the

   defendants themselves.” Myers v. Lee, No. 1:10CV131 AJTJFA, 2010 WL 3745632, at *4 (E.D.

   Va. Sept. 21, 2010). A “RICO person must be distinct from the RICO enterprise.” Id. at *3. As a

   result, “liability depends on showing that the defendants conduct or participated in the conduct of

   the ‘enterprise’s affairs,’ not just their own affairs.” Id. The “sum total of the allegations” cannot

   merely allege “that the defendants associated with themselves for the purpose of conducting” their

   “business affairs through entities created for that purpose.” Id. at *5.

          In Plaintiffs’ view, the Tribal Council has the power to manage lending activities. Doc. 135

   ¶ 131. And the Tribal Council has allegedly, in turn, delegated agents or entities to manage those

   lending activities as an unlawful enterprise. Id. ¶¶ 136-137. But that simply means “[t]here is a

   complete overlap between the defendants, their alleged agents, and the enterprise.” Myers, 2010

   WL 3745632, at *4. It is of no concern that Plaintiffs summarily plead a “series of interconnecting


                                                     14                                       OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 20 of 27 Pageid#: 3115




   agency relationship, including . . . non-party participants.” Id. at *3. Because, even so, “nowhere

   in the Amended Complaint are there any allegations that the affairs of the enterprise are any

   different from the affairs of the defendants.” Id. at *4.

             Plaintiffs cannot turn a business relationship into a RICO enterprise by invoking the

   ephemeral phrase “association-in-fact” or other similar legal tests. At the end of the day, Plaintiffs

   alleged that the Tribal Defendants have the power to engage in a lending business and engaged in

   a lending business through the Tribe’s entities and agents. There is thus no “purpose” of the

   defendants that is “distinct from the goals and objectives” of the alleged enterprise (which are,

   according to Plaintiffs, simply defendants’ agents). Id. at *5.

                2. Plaintiffs’ 1962(d) claims must be dismissed (COUNT II)

                        a. Intracorporate conspiracy bars Plaintiffs’ RICO conspiracy claim.

             Pursuant to the intracorporate conspiracy doctrine, a business entity “cannot conspire with

   its employees, and its employees, when acting in the scope of their employment, cannot conspire

   among themselves.” Balt.-Wash. Tel. Co. v. Hot Leads Co., LLC, 584 F. Supp. 2d 736, 744 (D.

   Md. 2008). This is because the “acts of corporate agents are attributed to the corporation itself,

   thereby negating the multiplicity of actors necessary for the formation of a conspiracy.” Id.; see

   also Walters v. McMahen, 795 F. Supp. 2d 350, 358 (D. Md. 2011) (“[T]he Fourth Circuit has

   consistently found that the intracorporate conspiracy doctrine can be broadly applied to conspiracy

   cases, including civil RICO claims.”). The doctrine extends not only to a company’s employees,

   but also to its subsidiaries, sister companies, and other corporate affiliates. Bailey, 992 F. Supp. 2d

   at 568.

             The intracorporate conspiracy doctrine squarely applies here. Plaintiffs allege that “Tribal

   Council” (which controls the Tribe) conspired with its subsidiaries (which are Tribal businesses),

   and non-tribal members “including but not limited to Pruett and Sky Trail Servicing Group”


                                                     15                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 21 of 27 Pageid#: 3116




   (which, according to Plaintiffs, is “delegat[ed] responsibilities over the day-to-day operations” of

   the tribal lending business by the Tribe, see, e.g., Doc. 135 ¶ 16). But Plaintiffs do not allege that

   any of the individual defendants or unnamed individuals ever acted outside the scope of their

   employment or agency relationships. Thus, Plaintiffs’ own allegations run them headlong into the

   intracorporate conspiracy bar.

                        b. Plaintiffs fail to plead an agreement.

             A RICO conspiracy requires “the knowing agreement to participate in an endeavor which,

   if completed, would constitute a violation of the substantive statute.” United States v. Mouzone,

   687 F.3d 207, 218 (4th Cir. 2012) (quotations and citations omitted). “[T]o prove a RICO

   conspiracy, two things must be established: ‘(1) that two or more people agreed to commit a

   substantive RICO offense and (2) that the defendant knew of and agreed to the overall objective

   of the RICO offense.’” Solomon v. Am. Web Loan, No. 4:17CV145, 2019 WL 1320790, at *11

   (E.D. Va. Mar. 22, 2019) (quoting United States v. Posada-Rios, 158 F.3d 832, 857 (5th Cir.

   1998)).

             Plaintiffs fail to adequately plead an agreement to violate RICO. Plaintiffs simply assert,

   in conclusory fashion, that the Defendants “aid[ed], abet[ed], and facilitate[ed] a series of

   agreements designed to § 1962(b)-(c) . . . . ” Doc. 135 ¶ 231. Plaintiffs do not explain how, when,

   or where an agreement by Tribal Defendants was reached (or even that an agreement was reached),

   nor do Plaintiffs explain what it means to facilitate an agreement “designed to” other sections of

   the RICO statute. Absent well-pleaded facts showing how, when, and where the alleged agreement

   occurred, the RICO conspiracy claim fails. See, e.g., Rojas v. Delta Airlines, Inc., 425 F. Supp. 3d

   524, 538 (D. Md. 2019) (“That Defendants reached an express or tacit agreement to fraudulently

   collect the [purportedly unlawful] Tax is conclusory, and Plaintiffs fail to provide any specific




                                                     16                                       OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 22 of 27 Pageid#: 3117




   allegations as to how, when, or where this agreement actually occurred or who made what

   communications to bring the agreement about.”).

            Even in their Second Amended Complaint, the closest Plaintiffs get is a reference to an

   agreement between a non-party and a non-Tribal Defendant. See Doc. 135 ¶ 7. Regardless of

   whether such an agreement could plausibly be considered an agreement to violate RICO (which it

   could not), Plaintiffs admit that Tribal Defendants are not even parties to the agreement.

       B. Plaintiffs’ State Law Claims Must be Dismissed (COUNTS III AND IV)

            Plaintiffs purport to bring claims under a litany of state laws, despite Plaintiffs only residing

   in Virginia, Georgia, Maryland, and Florida. In the interest of judicial economy, the Tribal

   Defendants will broadly address why those four state law claims fail.6

            First, for the reasons stated above, Plaintiffs’ alleged federal causes of action fail. And if

   “the federal claims are dismissed before trial . . . the state claim should be dismissed.” Alexandria

   Resident Council, Inc. v. Alexandria Redevelopment & Hous. Auth., 11 F. App’x 283, 287 (4th

   Cir. 2001). This is because when there is an early dismissal of the federal cause of action, the

   “justifications behind pendent jurisdiction” over state law claims are “typically absent.” Id. It is

   therefore an abuse of discretion to exercise pendent jurisdiction over state law claims after

   dismissing federal claims well before trial. Id.

            Second, even if this Court had jurisdiction, Plaintiffs’ own allegations show that they have

   no state law claims against the Tribal Defendants. Plaintiffs allege that the “LDF Lending

   Entities”—which are non-parties to this suit—purportedly violated state laws by making the loans.

   See Doc. 135 ¶¶ 253-54. These state laws, according to Plaintiffs, apply to “lenders”. Id. ¶¶ 34-62.




            6
             Even if Plaintiffs could bring class claims on behalf of others who are subject to a different state’s laws—
   which they cannot—the same analysis would apply.



                                                            17                                              OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 23 of 27 Pageid#: 3118




   But nowhere do Plaintiffs allege that any of the Tribal Defendants were lenders. Indeed, Plaintiffs

   allege the exact opposite: the lenders are non-parties. Id. ¶¶ 144-195.

          Third, to the extent any of these claims rely on state-law licensing requirements, there is

   no private right of action related to those state’s licensing regimes. “If a statute does not expressly

   create a private cause of action, one does not exist…By now, Congress is well aware of

   this presumption and how to provide private remedies.” Ormet Corp. v. Ohio Power Co., 98 F.3d

   799, 805 (4th Cir. 1996). So while there might be an enforcement mechanism for state regulators,

   private plaintiffs cannot vindicate the states’ licensing regimes in federal court.

          Fourth, these state law claims are styled as ones for a declaratory judgment, see Doc. 135

   ¶¶ 244, 257, but a declaratory judgment action is not an affirmative claim for relief. Rather, these

   purported causes of action are remedies. Artis v. TMobile USA, Inc., No. PJM 18-2575, 2019 WL

   1427738, at *5 (D. Md. Mar. 29, 2019) (“[B]oth a declaratory judgment and an injunction are

   remedies, not independent claims themselves. . . .”); Young v. Ditech Fin., LLC, No. PX 16-3986,

   2017 WL 3066198, at *8 (D. Md. July 19, 2017) (courts cannot issue a declaratory judgment under

   28 U.S.C. § 2201 or an injunction under Federal Rule of Civil Procedure 65 “unless an independent

   valid cause of action survives challenge”).

          Absent an independent valid cause of action against the Tribal Defendants, Plaintiffs claims

   under the Declaratory Judgment Act and for “Violations of State Law” must also be dismissed.

   See, e.g., Eseni v. RIMSI Corp., No. AW-07-2384, 2007 WL 9782599, at *4 & n.4 (D. Md. Dec.

   6, 2007) (dismissing request for injunctive relief where it was unavailable under statutes providing

   alleged causes of action); Hauk v. LVNV Funding, LLC, 749 F. Supp. 2d 358, 368-69 (D. Md.

   2010) (dismissing count for declaratory and injunctive relief, noting “[t]he principal deficiency

   with the plaintiffs’ argument is that the amended complaint does not cite any federal or state




                                                     18                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 24 of 27 Pageid#: 3119




   statutes that independently entitle the plaintiffs to declaratory or injunctive relief”); Artis, 2019

   WL 1427738, at *5 (“Since declaratory and injunctive relief are remedies unavailable to plaintiffs

   under both the [Maryland Consumer Protection Act] and the [Maryland Consumer Debt Collection

   Act] . . . there is no basis for the Court to grant his request for declaratory and injunctive relief.”).

           The fact that Plaintiffs sue the Tribal Defendants in their official capacities in an effort to

   invoke the Ex parte Young exception to sovereign immunity does not change this analysis.

   Plaintiffs cannot manufacture Ex parte Young claims by styling Declaratory Judgment Act claims

   and other procedural remedies as independent claims for relief. “Ex parte Young does not supply

   a right of action by itself. . . . Ex parte Young provides a path around sovereign immunity if the

   plaintiff already has a cause of action from somewhere else.” Michigan Corrections Org. v.

   Michigan Dep't of Corrections, 774 F.3d 895, 902-07 (6th Cir. 2014) (finding Ex parte Young did

   not apply to private plaintiffs’ Declaratory Judgment Act claim against state officials alleging

   violation of Fair Labor Standards Act because statute precluded private party injunction actions);

   Spiteri v. Russo, No. 12-cv-2780, 2013 WL 4806960, at *19 & n.30 (E.D.N.Y. Sept. 7, 2013)

   (assuming without deciding that defendants could be sued for declaratory and injunctive relief

   under Ex parte Young; holding requests for injunctive and declaratory relief should be dismissed

   because plaintiff failed to state an underlying claim for relief); Harris v. Florida, No. 8:16-cv-12-

   T-27MAP, 2016 WL 656977, at *2 (M.D. Fla. Jan. 12, 2016) (noting that Declaratory Judgment

   Act “does not provide an independent cause of action for determination of the constitutionality of

   a statute” and that “[a]n appropriate way for Plaintiff to challenge the constitutionality of the state

   laws at issue (if indeed he can go forward notwithstanding the Eleventh Amendment’s

   jurisdictional bar) is under the federal civil rights statute, 42 U.S.C. § 1983”); Springsteen v.

   Combs, No. A-13-CV-427, 2013 WL 5305312, at *4 (W.D. Tex. Sept. 19, 2013) (“The Declaratory




                                                      19                                         OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 25 of 27 Pageid#: 3120




   Judgment Act is insufficient by itself to establish a federal cause of action sufficient to qualify for

   the Ex Parte Young exception to immunity that requires that [plaintiff] make out a federal claim.”).

   C.     Plaintiffs’ Unjust Enrichment Claim is Not Asserted Against Tribal Defendants.

          Plaintiffs’ only remaining claim is Count V for unjust enrichment. This claim is not

   asserted against the Tribal Defendants. See Doc. 135 ¶ 270. As a result, Count V provides no basis

   to keep Tribal Defendants in the case.

   V.     CONCLUSION

          For the reasons set forth above, the Tribal Defendants ask that Plaintiffs’ Second Amended

   Complaint be dismissed for failure to state a plausible claim against Tribal Defendants.

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                                                     20                                        OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 26 of 27 Pageid#: 3121




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                                        21                                    OM 1061644.1
Case 3:20-cv-00044-NKM-JCH Document 151 Filed 02/09/23 Page 27 of 27 Pageid#: 3122




                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 9, 2023, a copy of the foregoing was filed electronically
   with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all counsel
   of record registered to receive electronic service by operation of the court’s electronic filing
   system.
                                                /s/ Alan D. Wingfield
                                                Alan D. Wingfield




                                                  22
                                                                                          OM 1061644.1
